Case 1:20-cv-08786-GHW_ Document 41-1 Filed 02/19/21 Page Par23 01/25/2019

Ship To: #1TEB

K&S§S

22-19 160 Street

Whitestone, NY 11357

Telephone: 718)767-2808 Fax: 347)438-1053

100 BROAD STREET LLC (ESSEN) From: To:

#100 Broad st

NY, NY 10004
212) 943-0100

 

01/20/2019 01/25/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
01/20 Sunday 0.00 0.00
01/21 Monday 0.00 0.00
01/22 Tuesday 4434.20 18020.80
01/23 Wednesday 3215.50 0.00
01/24 Thursday 3514.40 0.00
01/25 Friday 2064.20 0.00
Shipped Total 13228.30 Paid Total 18020.80
Delivery Charge 0.00 Credit Memo
Credit 0.00 —=
wenn nen Date +/- Qty Item Price Amount
Sub-Total (4) TE Oe 30) Steno Seaman sSTeEeS C
Prev.Balance(+) 178,669.84 01/23 + 1 bokch cr-1.3 0.00 0.00
01/23 + 1 egg adt+32.8 0.00 0.00
Payment 18,020.80 01/24 + 1 Gpep ad+28.3 0.00 0.00
SSS see Se SSeS 01/25 + 1 Cpar rt-23.3 0.00 0.00
Current BAlVSH6s 7S ATR 2 Be ie
Credit Total 0.00
AR Aging Report Current Balance 173,877.34
ee
Ist Week 13,228.30 Received Amount (-)
2nd Week 34.30 This Week Balance
3rd Week & Over 160,614.74 Received By

 

 

 

The perishable agricultural commodities listed on this invoice

 

Paid By

 

 

 

 

are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 41-1 FBtext OASI82280Page 2 dfaz3 347/438-1053

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324855

#100 Broad st

NY, NY 10004 Date 01/22/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] BEETS 25LB LBAG CAN 2 11.00 22.00
GRANNY SMITH 80 USA 2 41.00 82.00 | PEPPER GREEN GR USA 2 27.00 54.00
GALA APPLE 80 USA 1 45.00 45.00 | PEPPER RED RED USA 3 20.00 60.00
STAR RUBY Cc USA 1 30.00 30.00 | YELLOW PEPPER YELL USA 2 16.00 32.00
POMEGRANATES c USA 2 21.00 42.00] JALAPINO JALPN HOL 1 25.00 25.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | CUCUMBER CUM MEX 3 24.00 72.00
SEEDLESS RED RED USA 1 34.00 34.00 | SQUASH GREEN GR USA 1 29.00 29.00
KIWI LOOSE LLOO USA 2: (23200 23.00] GARLIC JAR JBOX USA 1 46.00 46.00
WATERMELON SEED USA 1 50.00 50.00} SHANGHAI BOKCHOY SH/BK USA 1 28.00 28.00
CANTALOUP Cc USA i 213.00 13.00 | GINGER 10LB 10LB CHN 1 12.00 12.00
HONEY DEW Cc USA 1 30.00 30.00 | MUSHROOM WASH 10LB USA 3 21700 51.00
JUICE ORANGE 100 USA 2 22.00 44.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
SUNKIST ORANGE 56 USA 2 33,00 66.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
LEMON SK SK/L USA 1 30.00 30.00 | YAM #1 YAM USA 1 20.00 20.00
STRAWBERRY CAL USA 8 25.00 200.00) EGGPLANT ITALIAN ITAL USA 1 28.00 28.00
RASPBERRY A USA 7 27.00 189.00] POTATO IDAHO 90 USA 3 22.00 66.00
BLUEBERRY A USA 4 13.00 52.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
BLACKBERRY A USA 2 15.00 30.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
AVOCADO HASS# RIPE MEX 8 32.00 256.00] ONION SPANISH SPI USA 2 16.00 32.00
PAPAYA BIG BOX RED MEX 1 40.00 40.00 | ONION RED RD-J USA 2 13.00 26.00
MANGO RIPE M/RIP MEX 6 9.00 54.00 | TOFU s USA 1 13.00 13.00
LIME 48 MEX 1 11.00 11.00 | PINE GOLDEN GOL USA 4 14.00 56.00
TOMATO #1 5X6 USA 3 23.00 69.00 | BANANA BNA ECU 3 = 15.50 46.50
TOMATO PLUM c MEX 2 16.00 32.00 | MESCLUN SALAD MESC USA 20 7.50 150.00
TOMATO GRAPE R USA 3 11.00 33.00 | EGG EX/LOOSE EXLOO USA 7 31.50 220.50
TOMATO GRAPE YE USA 1 26.00 26.00 | HERBS ROSEMARY ROSE CHL z 7.50 7.50
TOMATILLO ORG MEX 1 16.00 16.00 | YUKON A BOX Y ABO USA 1 35.00 35.00
ROMAINE CA-A USA 3 18.00 54.00} SCALLION KING USA 3 50.00 150.00
CABBAGE GR GR USA 1 22.00 22.00
CABBAGE RED RED USA 1 37.00 37.00
CAULIFLOWER Cc USA 2 32.00 64.00
FLOWER ORCHID 100 USA 1 15.00 15.00
BROCCOLI CROWN CROW USA 5 21.00 105.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 3 38.00 114.00
CELERY Cc USA 1 38.00 38.00
SPINACH BUSH USA 2 29.00 58.00
SPINACH BABY BA/SP USA 12 6.50 78.00 Total Boxes: 199.0
GREEN COLLARD COALD USA 1 23.00 23.00 Delivery $ : 258.70
GREEN KALE KALE USA 4 32.00 128.00
STRINGBEAN BEAN USA 1 25.00 25.00| Shipment : 4,434.20
SNOWPEA A USA 1 20.00 20.00 | -—e-s-S et et ETE TTS
ALFALFA CUP USA i. sez D0 12.00
BRUSSEL SP LOOSE USA 3 41.00 123.00 Cash Receipt:
MINT A USA 1 15.00 15.00 | =ceseseees Se se seer ST
BASIL A USA 2 20.00 40.00
BABY ARRUGULA B/AR USA 6 11.50 69.00 Signature
CILANTRO c USA 1 18.00 18.00
Printed on Oct 12, 2020 eeekeee Balance : 178,669.84

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section Sic) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_Document 41-1 PRinsd O2BIS7b 280 Page 3 deg 347/438-1053

INVOICE

 

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324925
#100 Broad st
NY, NY 10004 Date 01/23/2015
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00 | EGGPLANT c USA 1 23.00 23.00
GRANNY SMITH 80 USA 2 41.00 82.00) POTATO IDAHO 90 USA 2 22.00 44.00
STAR RUBY c USA 1 29.00 29.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
POMEGRANATES Cc USA 2 20,00 40.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
KIWI LOOSE LLOO USA 1 23.00 23.00 | ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 50.00 50.00 | ONION RED RD-J USA 2 13.00 26.00
CANTALOUP c USA 1 14.00 14.00 | PINE GOLDEN GOL USA 3 14.00 42.00
HONEY DEW c USA 1 30.00 30.00 | BANANA BNA ECU 2 15.50 31.00
JUICE ORANGE 100 USA 2 22.00 44.00 | PLANTAIN YELLOW c ECU 1 27.00 27.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | MESCLUN SALAD MESC USA 12 7.50 90.00
LEMON SK SK/L USA 1 30.00 30.00] EGG EX/LOOSE EXLOO USA 7 31.50 220.50
STRAWBERRY CAL USA 7 26.00 182.00] ORDER PAPER OR/PE 0 0.00 0.00
RASPBERRY A USA 4 26.00 104.00 | SCALLION KING USA 2 48.00 96.00
BLUEBERRY A USA 3 13.00 39.00
BLACKBERRY A USA 2 14.00 28.00
AVOCADO HASS# RIPE MEX 6 32.00 192.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
TOMATO #1 5X6 USA 2 22.00 44.00
TOMATO PLUM Cc MEX 1 15.00 15.00
TOMATO CHERRY c USA 1 19.00 19.00
LETTUCE . ICEBERG A USA 1 22.00 22.00
ROMAINE CA-A USA 2 17.00 34.00
CABBAGE GR GR USA 1 21.00 21.00
CAULIFLOWER @ USA 2 29.00 58.00
BROCCOLI CROWN CROW USA 4 20.00 80.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 37.00 111.00
CELERY Cc USA 2 38.00 76.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 3 32.00 96.00
STRINGBEAN BEAN USA 1 25.00 25.00
ALFALFA CUP USA 1 12.00 12.00
SHALLOT JAR/5LB sJ#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 13.00 13.00] Credit -31.50
BABY ARRUGULA B/AR USA 6 11.50 69.00
PARSLEY PLAIN FULL USA 1 26.00 26.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Total Boxes: 150.0
PEPPER GREEN GR USA 1 27.00 27.00 Delivery $ 195.00
PEPPER RED RED USA 2 20.00 40.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment * 8,275.50
SQUASH GREEN GR USA 1 28.00 28.00 | ------ Hn nr rr rs nm
SQUASH YELLOW YEL MEX 1 32.00 32.00
WATERCRESS BEw MEX 1 19.00 19.00 Cash Receipt:
SHANGHAI BOKCHOY SH/BK USA 1 0.00 SGM) ee eames cetera een re era
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 3 217.50 52.50 Signature
PORTABELLA MUS M PO#2 USA a 9.50 28.50
Printed on Oct 12, 2020 k#k**x** Balance : 165,083.24

The perishable agricultural commodities listed on this invoice are sold subject to the statuto
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commo
products derived from these commodities and any receivables or procee

dities retains a trust c

ry trust authorized by section 5(c) of the perishable agricultural
laim over these commodities, all inventories of food or other
d from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 41-1 Phhed :O7ARme/28éBage 4 OFS 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325002
#100 Broad st
NY, N¥ 10004 Date 01/24/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 41.00 82.00 | PORTABELLA MUS M PO#2 USA 4 5.50 38.00
GALA APPLE 80 USA 1 45.00 45.00] POTATO IDAHO 90 USA 3 22.00 66.00
STAR RUBY c USA 1 29.00 29.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
POMEGRANATES Cc USA 2 21.00 42.00 | ONION SPANISH SPI USA 2 16.00 32.00
SEEDLESS GREEN GR USA 1 32.00 32.00] ONION RED RD-J USA 2 13.60 26.00
SEEDLESS RED RED USA 1 30.00 30.00} TOFU s USA 1 13.00 13.00
WATERMELON SEED USA 1 50.00 50.00 | PINE GOLDEN GOL USA 3 14.00 42.00
JUICE ORANGE 100 USA 2 #22.:00 44.00] BANANA BNA ECU 2 15.50 31.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | CIDER 1/2G USA 1 26.00 26.00
LEMON SK SK/L USA 1 28.00 28.00 | MESCLUN SALAD MESC USA 18 7.00 126.00
STRAWBERRY CAL USA 8 27.00 216.00] EGG EX/LOOSE EXLOO USA 6 31.50 189.00
RASPBERRY A USA 6 21.00 126.00] YUKON A Box Y ABO USA L: 85.060 35.00
BLUEBERRY A USA 5 21.00 105.00] SCALLION KING USA 3 46.00 138.00
BLACKBERRY A USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 5 31.00 155.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 3 20.00 60.00
TOMATO PLUM c MEX 2 15.00 30.00
TOMATO CHERRY Cc USA 2 19.00 38.00
TOMATO GRAPE R USA S$ 12.00 33.00
TOMATO GRAPE YE USA 1 26.00 26.00
LETTUCE . ICEBERG A USA 1 19.00 19.00
ROMAINE CA-A USA 4 17.00 68.00
CAULIFLOWER c USA 1 22.00 22.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 18.00 72.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 37.00 111.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN COLLARD COALD USA 1 23.00 23.00
GREEN KALE KALE USA 2 32.00 64.00
STRINGBEAN BEAN USA 1 27.00 27.00
BRUSSEL SP LOOSE USA 2 40.00 80.00
RADICCIO.. RD/CO USA 1 13.00 13.00 Credit -28.30
BABY ARRUGULA B/AR USA 7 11.50 80.50
PARSLEY CURLEY FULL USA 1 22.00 22.00
BEETS 25LB LBAG CAN 2 11.00 22.00 Total Boxes: 167.0
PEPPER GREEN GR USA 1 27.00 27.00 Delivery $ : 217.10
PEPPER RED RED USA 2 19.00 38.00
YELLOW PEPPER YELL USA 2 15.00 30.00 Shipment : 3,514.40
JALAPINO JALPN HOL 1 25.00 25.00 | ----------n-- nnn $$ $= --- -- $$$
CUCUMBER CUM MEX 2 23.00 46.00
SQUASH GREEN GR USA 1 25.00 25.00 Cash Receipt
GARLIC JAR JBOX USA 1 44.00 44..00 | SASS SSS SSS Shr S nee Se oman er seo
GINGER C30 USA 1 24.00 24.00
MUSHROOM WASH 10LB USA 1 17.00 17.00 Signature
MUSH SPECIAL 10SP USA 3 17.50 52.50
Printed on Oct 12, 2020 keeek* Balance : 168,298.74

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 41-1 Pate OA8D942280Page 5 dfa®3 347)438-1053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325059
#100 Broad st
NY, NY 10004 Date 01/25/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00
POMEGRANATES c USA 2 21.00 42.00
KIWI LOOSE LLOO USA 1 24.00 24.00
WATERMELON SEED USA 1 48.00 48.00
HONEY DEW c USA 1 30.00 30.00
JUICE ORANGE 100 USA 2 22.00 44.00
SUNKIST ORANGE 56 USA 2 33.00 66.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY CAL USA 8 27.00 216.00
RASPBERRY A USA 5 18.00 90.00
BLUEBERRY A USA 4 20.00 80.00
AVOCADO HASS# RIPE MEX 3 30.00 90.00
PAPAYA BIG BOX RED MEX 1 40.00 40.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO PLUM Cc MEX 1 15.00 15.00
ROMAINE CA-A USA 1 16.00 16.00
CABBAGE GR GR USA 1 22.00 22.00
CAULIFLOWER ce USA 1 20.00 20.00
BROCCOLI CROWN CROW USA 2 18.00 36.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 38.00 76.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 4 6.50 26.00
GREEN COLLARD COALD USA 1 22:06 22.00
GREEN KALE KALE USA 1 32.00 32.00
STRINGBEAN BEAN USA 1 28.00 28.00
ALFALFA CUP USA 1 12.00 12.00
PARSLEY CURLEY FULL USA 0 0.00 0.00
CILANTRO Cc USA 1 18.00 18.00
PEPPER RED RED USA 2 17.00 34.00
YELLOW PEPPER YELL USA 1 15.00 15.00
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH GREEN GR USA 1 23.00 23.00
GARLIC JAR JBOX USA 1 40.00 40.00
SHANGHAI BOKCHOY SH/BK USA 1 25.00 25.00 Credit : 23.30
GINGER 10LB 10LB CHN 1 12.00 12.00
MUSHROOM WASH 10LB USA L 217..00 17.00
MUSH SPECIAL 10SP USA E 27.50 1.7.50 Total Boxes: 95.0
PORTABELLA MUS M PO#2 USA 1 9.50 9.50 Delivery $ : 123.50
YAM #1 YAM USA 1 20.00 20.00
POTATO IDAHO 90 USA 2 22.00 44.00 Shipment : 2,064.20
ONION SPANISH SPI USA 1 16.00 26,00 | SHS Sse SSS SSS SS SS ee a a a ee a
PINE GOLDEN GOL USA 3 14.00 42.00
BANANA BNA ECU 3 15.50 46.50 Cash Receipt:
MESCLUN SALAD MESG: USA. 6 7:10 42.00)|'—==S-- SSS eeeree
EGG EX/LOOSE EXLOO USA 5: 81,50 157.50
SCALLION KING USA 1 42.00 42.00 Signature :
Printed on Oct 12, 2020 *ee*ek* Balance : 171,813.14

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW_Document 41-1 Filed 02/19/21 Page Pag 2/01/2019
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:

#100 Broad st
NY, NY 10004 01/27/2019 02/01/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
01/27 Sunday 0.00 0.00
01/28 Monday 3892.20 18682.04
01/29 Tuesday 3975.30 0.00
01/30 Wednesday 3295.10 0.00
01/31 Thursday 267530 0.00
02/01 Friday 2130.00 20335.60
Shipped Total 16167.90 Paid Total 39017.64
Delivery Charge 0.00 Credit Memo
Credit 0.00
pan Date +/- Qty Item Price Amount
Sub-Total (PE) SSG GTO 9 SS SR Sr i et i ii ier eat
Prev.Balance(+) 173,877.34 01/28 + 1 scalon cr-43 0.00 0.00
01/29 + 1 parsle ad+23 0.00 0.00
Payment 39,017.64 01/30 + 1 redoni cr-14 0.00 0.00
wenn rrr 01/31 + 1 Ysqu adt+24.3 0.00 0.00
Current Balance 151,027.60 02/01 + 1 alfa ad+13.3 0.00 0.00
02/01 + 1 orchid ad+24. 0.00 0.00
Credit Total 0.00
AR Aging Report Current Balance 151,027.60
1st Week 16,167.90 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 134,859.70 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW_ Document 41-1 Hed: O2VMS#ZL80Rage 7 OF 3 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325134

#100 Broad st

NY, Ny 10004 Date 01/28/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00 | YELLOW PEPPER YELL USA 2 14.00 28.00
GRANNY SMITH 80 USA 1 41.00 41.00 | JALAPINO JALPN HOL 1 25.00 25.00
STAR RUBY c USA 1 28.00 28.00 | CUCUMBER CUM MEX 2 18.00 36.00
POMEGRANATES Cc USA 1 42.00 42.00 | SQUASH GREEN GR USA < 27.06 17.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | SQUASH YELLOW YEL MEX 1 26.00 26.00
SEEDLESS RED RED USA 1 33.00 33.00) GARLIC JAR JBOX USA 1 36.00 36.00
KIWI LOOSE LLOO USA 1 23.'00 23.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
WATERMELON SEED USA 1 48.00 48.00 | MUSH SPECIAL 10SP USA 4 217,50 70.00
CANTALOUP Cc USA 1 12.00 12.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
HONEY DEW c USA 1 28.00 28.00 | EGGPLANT C USA 1 19.00 19.00
JUICE ORANGE 100 USA 1 22.00 22.00 | EGGPLANT ITALIAN ITAL USA 1 28.00 28.00
SUNKIST ORANGE 56 USA 3 33.00 99.00 | POTATO IDAHO 90 USA 2 22.00 44.00
STRAWBERRY CAL USA 8 28.00 224.00 | POTATO RED A BOX BOX A USA 1 24.00 24.00
RASPBERRY A USA 5 18.00 90.00 | CARROT LOOSE LOOSE USA 2 27.00 54.00
BLUEBERRY A USA 4 15.00 60.00 | ONION SPANISH SPI USA 2 16.00 32.00
BLACKBERRY A USA 3 20.00 60.00 | ONION RED RD-J USA 2 13.00 26.00
AVOCADO HASS# RIPE MEX 8 31.00 248.00) PINE GOLDEN GOL USA 4 14.00 56.00
PAPAYA BIG BOX RED MEX L 35:00 35.00} BANANA BNA ECU 3 16.50 49.50
MANGO RIPE M/RIP MEX 10 9.00 90.00) PLANTAIN YELLOW Cc ECU 1 27.00 27.00
TOMATO #1 5X6 USA 3 18.00 54.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
TOMATO PLUM Cc MEX 2 15.00 30.00 | EGG EX/LOOSE EXLOO USA J 37.00 259.00
TOMATO CHERRY Cc USA 1 19.00 19.00 | EGG BROWN/CT BR/CT USA 1 50.00 50.00
TOMATO GRAPE R USA 2 11.00 22.00) SCALLION KING USA 3 40.00 120.00
TOMATO GRAPE YE USA 0 0.00 0.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 3 15.00 45.00
CABBAGE GR GR USA 1 22.00 22.00
CAULIFLOWER Cc USA 2 18.00 36.00
FLOWER ORCHID 100 USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 34.00 102.00
CELERY Cc USA 2 42.00 84.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 12 6.50 78.00 Credit : 43.30
GREEN LEAF GR USA 1 18.00 18.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 32.00 96.00 Total Boxes: 185.0
STRINGBEAN BEAN USA 1 27.00 27.00 Delivery $ : 240.50
SNOWPEA A USA 1 20.00 20.00
ENDIVES A USA 1 18.00 18.00 Shipment : 3,892.20
BRUSSEL SP LOOSE USA 2 39.00 FE A), |p, ere ee nc me ce ee cree rer
RADICCIO.. RD/CO USA 1 12.00 12.00
MINT A USA 1 14.00 14.00 Cash Receipt:
BABY ARRUGULA B/AR USA, 10; 21.00 210200 | sees eessseeesa eo ener sr ee
CILANTRO Cc USA 2 18.00 36.00
PEPPER GREEN GR USA 2 27.00 54.00 Signature
PEPPER RED RED USA 2 16.00 32.00
Printed on Oct 12, 2020 kee*%% Balance : 173,877.34

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 41-1 Fhiee: O2/8562-280Page 8 OFaX3 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325214

#100 Broad st

NY, NY 10004 Date 01/29/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] YELLOW PEPPER YELL USA 2 14.00 £28.00
GRANNY SMITH 80 USA 2 41.00 82.00 | CUCUMBER CUM MEX 2 17.00 34.00
GALA APPLE 80 USA 1 45.00 45.00] SQUASH GREEN GR USA 1 17.00 17.00
STAR RUBY Cc USA 1 28.00 28.00 | SQUASH YELLOW YEL MEX 1 24.00 24.00
POMEGRANATES C USA 2 18.00 36.00] GARLIC JAR JBOX USA 1 36.00 36.00
SEEDLESS GREEN GR USA 1 38.00 38.00 | SHANGHAT BOKCHOY SH/BK USA 1 24.00 24.00
SEEDLESS RED RED USA 1 33.00 33.00] MUSHROOM WASH 10LB USA 2 17.00 £34.00
KIWI LOOSE LLOO USA 1 23.00 =23.00]| MUSH SPECIAL 10SP USA 3 17.50 £52.50
WATERMELON SEED USA 1 50.00 £50.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
CANTALOUP c USA 1 12.00 12.00] YAM #1 YAM USA 1 20.00 £20.00
HONEY DEW c USA 1 28.00 28.00] POTATO IDAHO 90 USA 2 22.00 £44.00
JUICE ORANGE 100 USA 2 22.00 £44.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
SUNKIST ORANGE 56 USA 2 33.00 66.00 | ONION SPANISH SPI USA 2 16.00 £32.00
LEMON SK SK/L USA 1 32.00 32.00] ONION RED RD-J USA 2 13.00 # £26.00
STRAWBERRY CAL USA 8 31.00 248.00] PINE GOLDEN GOL USA 4 14.00 £56.00
RASPBERRY A USA 7 18.00 126.00] BANANA BNA ECU 3 16.50 £49.50
BLUEBERRY A USA 6 14.00 84.00] YUCA DOM EUC 1 22.00 £22.00
BLACKBERRY A USA 2 12.00 24.00] CALABAZA c USA 1 20.00 £20.00
AVOCADO HASS# RIPE MEX 7 30.00 210.00] MESCLUN SALAD MESC USA 20 7.00 140.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00] EGG EX/LOOSE EXLOO USA 6 37.00 222.00
MANGO RIPE M/RIP MEX 15 9.00 135.00] YUKON A BOX ¥ ABO USA 1 35.00 35.00
LIME 48 MEX 1 9.00 9.00 | SCALLION KING USA 3 34.00 102.00
TOMATO #1 5X6 USA 2a 17.700 51.00} SQUASH BUTTERNUT BUTIN USA 1 23.00 23.00
TOMATO PLUM Cc MEX 2 14.00 28.00} SQUASH KABOCHA KABO MEX 1 25.00 25.00
TOMATO CHERRY c USA 1 19.00 19.00
TOMATO GRAPE R USA 3 11.00 33.00
TOMATO GRAPE YE USA 1 35.00 35.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 4 15.00 60.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 32.00 96.00
CELERY c USA 1 42.00 42.00
SPINACH BUSH USA 1 28.00 28.00 Credit : -23.30
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 4 31.00 124.00
STRINGBEAN BEAN USA 1 27.00 27.00] Total Boxes: 195.0
SUGAR SNAPEA SNAP PER 1 19.00 19.00] Delivery $ : 253.50
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 39.00 78.00] Shipment : 3,975.30
RADICCIO.. RD/CO;USA 2 22.00 12.00 | s-Seseeecsseee see eset eee eee
MINT A USA 1 14.00 14.00
BASIL A USA 2 22.00 44.00 Cash Receipt:
BABY ARRUGULA A/AR “WSA 0 100 TLG.00 | -SSkeeeeeee ste See e Se eee See seaes
CILANTRO c USA 1 18.00 18.00
PEPPER GREEN GR USA 2 25.00 50.00] Signature
PEPPER RED RED USA 2 15.00 £30.00
Printed on Oct 12, 2020 *eeekee Balance : 159,087.50

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S&

Case 1:20-cv-08786-GHW Document 41-1 Fhitect O2/M962280Page 9 Ofa®3 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325282
#100 Broad st
NY, NY 10004 Date 01/30/201
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
STAR RUBY S USA 1 29.00 29.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
POMEGRANATES Cc USA 1 42.00 42.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
SEEDLESS GREEN GR USA 1 38.00 38.00 | EGGPLANT Cc USA Lt £7.06 17.00
SEEDLESS RED RED USA 2 33.00 66.00 | POTATO IDAHO 90 USA 2 22.00 44.00
KIWI LOOSE LLOO USA 1 25.00 25.00 | POTATO RED A BOX BOX A USA 1 23.00 23.00
WATERMELON SEED USA 1 50.00 50.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
CANTALOUP Cc USA 2 11.00 22.00 | ONION SPANISH SPI USA 2 16.00 32.00
HONEY DEW Cc USA 2 28.00 56.00] ONION RED RD-J USA 2 13.00 26.00
JUICE ORANGE 100 USA 2 2200 44.00] PINE GOLDEN GOL USA 5 14.00 70.00
SUNKIST ORANGE 56 USA 3 33.00 99.00 | BANANA BNA ECU 3 16.50 49.50
LEMON SK SK/L USA 1 30.00 30.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
STRAWBERRY CAL USA 7 #%24.00 168.00) EGG EX/LOOSE EXLOO USA 6 37.00 222.00
RASPBERRY A USA 7 14.00 98.00) SCALLION KING USA 3 30.00 90.00
BLUEBERRY A USA 7 19,00 :133..00
AVOCADO HASS# RIPE MEX 5 28.00 140.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00
TOMATO #1 5X6 USA 3 17.00 51.00
TOMATO PLUM c MEX 2 14.00 28.00
TOMATO CHERRY Cc USA 1 16.00 16.00
TOMATO GRAPE R USA 1 £2.00 11.00
TOMATILLO ORG MEX 2 16.00 32.00
ROMAINE CA-A USA 3 15.00 45.00
CABBAGE GR GR USA 1 23.00 23.00
CAULIFLOWER c USA 2 16.00 32.00
FLOWER ORCHID 100 USA 2 23.00 46.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 30.00 90.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 19.00 19.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 4 28.00 112.00 Credit : 14.30
STRINGBEAN BEAN USA 1 28.00 28.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 39.00 78.00 Total Boxes: 158.0
BABY ARRUGULA B/AR USA 2 11.0600 22.00 Delivery $ 205.40
CILANTRO Cc USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1, 22.200 11.00 Shipment : 8,295.10
PEPPER GREEN GR USA 1 25.00 25.000 | masa See ae SS Ser ease era
PEPPER RED RED USA 2 14.00 28.00
YELLOW PEPPER YELL USA 2 14.00 28.00 Cash Receipt:
JALAPINO JALPN HOL 1 25.00 25:.00)) Sfarne ose SSS eee See
CUCUMBER CUM MEX 2 £7.09 34.00
SQUASH GREEN GR USA 1 16.00 16.00 Signature :
GARLIC JAR JBOX USA 1 34.00 34.00
Printed on Oct 12, 2020 **eee* Balance : 163,062.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S§&

Case 1:20-cv-08786-GHW Document 41-1 Piet 02719721-28Page 10 ala23 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325340
#100 Broad st
NY, NY 10004 Date 01/31/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00 | PINE GOLDEN GOL USA 3 13.00 39.00
GRANNY SMITH 80 USA 1 41.00 41.00 | BANANA BNA ECU 2 16.50 33.00
POMEGRANATES Cc USA 1 42.00 42.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
KIWI LOOSE LLOO USA 1 25.00 25.00] EGG EX/LOOSE EXLOO USA 7 37.00 259.00
WATERMELON SEED USA 1 50.00 50.00 | YUKON A BOX Y ABO USA 1 35.00 35.00
JUICE ORANGE 100 USA 2 22.00 44.00 | SCALLION KING USA 1 24.00 24.00
SUNKIST ORANGE 56 USA 2 33.00 66.00
STRAWBERRY CAL USA 4 27.00 108.00
RASPBERRY A USA 5 18.00 90.00
BLUEBERRY A USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 6 30.00 180.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 1 15.00 15.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY c USA 1 18.00 18.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 28.00 28.00
ROMAINE CA-A USA 3 15.00 45.00
CAULIFLOWER Cc USA 2 16.00 32.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 27.00 81.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN LEAF GR USA 1 20.00 20.00
GREEN KALE KALE USA 4 28.00 112.00
BRUSSEL SP LOOSE USA 2 36.00 72.00
SHALLOT JAR/5LB SJ#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 13.00 13.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 10 11.00 110.00
PARSLEY PLAIN FULL USA 1 22.00 22.00
CILANTRO c USA 1 18.00 18.00 Credit : -24.30
BEETS 25LB LBAG CAN 2 11.00 22.00
PEPPER GREEN GR USA 2 25.00 50.00
PEPPER RED RED USA 2 14.00 28.00 Total Boxes: 145.0
YELLOW PEPPER YELL USA 2 13.00 26.00 Delivery $ : 188.50
CUCUMBER CUM MEX 2 16.00 32.00
GARLIC JAR JBOX USA 1 32.00 32.00 Shipment 2,875.30
MUSHROOM WASH 10LB USA 2 17.00 34.00 | —----------- === -- 5 cnn e ess cne sss ss=-
MUSH SPECIAL 10SP USA 3 17,50 52.50
PORTABELLA MUS M Po#2 USA 3 9.50 28.50 Cash Receipt:
POTATO IDAHO 90 USA 2 22.00 44.00 | S=S-Sa Serene tae tea se Ran ET
CARROT LOOSE LOOSE USA 2 26.00 52.00
ONION SPANISH SPI USA 2 16.00 32.00 Signature
ONION RED RD-J USA 2 13.00 26.00
Printed on Oct 12, 2020 kekkke Balance : 166,357.90

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S&

Case 1:20-cv-08786-GHW Document 41-1 Firse:02/80/67128Bage 11 623 347/438-1053

 

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325419
#100 Broad st
NY, NY 10004 Date 02/01/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
STAR RUBY c USA 1 33.00 33.00
POMEGRANATEs S USA 2 22.00 44.00
WATERMELON SEED USA 1 50.00 50.00
HONEY DEW Cc USA 1 26.00 26.00
JUICE ORANGE 100 USA 1 22.00 22.00
SUNKIST ORANGE 56 USA 2 33.00 66.00
STRAWBERRY CAL USA 8 29.00 232.00
RASPBERRY A USA 4 18.00 72.00
BLUEBERRY A USA 4 18.00 72.00
BLACKBERRY A USA 2 10:00 20.00
AVOCADO HASS# RIPE MEX 3 30.00 90.00
LIME 48 MEX 1 10.00 10.00
TOMATO #1 5X6 USA 2 15.00 30.00
TOMATO PLUM Cc MEX 1 15.00 15,00
TOMATO GRAPE YE USA 1 31.00 31.00
LETTUCE . ICEBERG A USA 1 16.00 16.00
ROMAINE CA-A USA 2 14.00 28.00
BROCCOLI CROWN CROW USA 4 12.00 48.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 26.00 78.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA 1. 20.00 20.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN COLLARD COALD USA 1 24.00 24.00
GREEN KALE KALE USA 2 26.00 52.00
STRINGBEAN BEAN USA 1 28.00 28.00
SNOWPEA A USA 1 20.00 20.00
RADICCIO.. RD/CO USA 1 13.00 13.00
MINT A USA 1 15.00 15,00
CILANTRO Cc USA 1 18.00 18.00
PEPPER RED RED USA 1 14.00 14.00
YELLOW PEPPER YELL USA 2 13.00 26.00
JALAPINO JALPN HOL 1 28.00 28.00
CUCUMBER CUM MEX 1 17.00 17.00
SQUASH GREEN GR USA 1 14.00 14.00 Credit -37.60
SQUASH YELLOW YEL MEX 1. 257.00 15.00
WATERCRESS B&w MEX 1 19.00 19.00
PORTABELLA MUS M PO#2 USA 2 9.50 19.00 Total Boxes: 103.0
POTATO IDAHO 90 USA 4. 22.00 22.00 Delivery $ : 133.90
POTATO RED A BOX BOX A USA 1 20.00 20.00
CARROT LOOSE LOOSE USA 1 26.00 26.00 Shipment 2,130.00
ONION SPANISH SPE UWSh. 1. 16.00: 6.00 | sete
ONION RED RD-J USA i £300 13.00
PINE GOLDEN GOL USA 3 13.00 39.00 Cash Receipt:
BANANA BNA ECU 3 16.50 49-50 | =sesecercr ress sss eS ee
MESCLUN SALAD MESC USA 10 7.00 70.00
EGG EX/LOOSE EXLOO USA 4 37.00 148.00 Signature
SCALLION KING USA 3 26.00 78.00
Printed on Oct 12, 2020 *e444% Balance : 169,233.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 41-1 Filed 02/19/21 Page 12%i¢ 220/080"

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1 TEB 100 BROAD STREET LLC (ESSEN) From : To:

#100 Broad st GO 705 7201
NY, NY 10004 2 019 02/08/2019

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
02/03 Sunday 0.00 0.00
02/04 Monday 3840.80 0.00
02/05 Tuesday 3454.40 0.00
02/06 Wednesday 3202.50 0.00
02/07 Thursday 3306.90 0.00
02/08 Friday 2591.90 0.00
Shipped Total 16396.50 Paid Total 0.00
Delivery Charge 0.00 Credit Memo
Credit 0.00 = = =
ree Date +/- Qty Item Price Amount
Sub-Total Ay SE. S628 =o
Prev.Balance(+) 151,027.60 02/04 + 1 pine cr-14.3 0.00 0.00
02/04 + 1 Ysqu cr-1.3 0.00 0.00
Payment 0.00 02/05 + 1 itaegp ad+27. 0.00 0.00
Hee eS See 02/05 + 1 redoni cr-14. 0.00 0.00
Current Balance 167,424.10 02/07 + 10 mango cr-98 0.00 0.00
Credit Total 0.00
AR Aging Report Current Balance 167,424.10
ea
1st Week 16,396.50 Received Amount (-)
2nd Week 16,167.90 This Week Balance
=
3rd Week & Over 134,859.70 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 41-1 Pie 02/18972128Paage 13 Gh23 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325472

#100 Broad st

NY, NY 10004 Date 02/04/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 43.00 43.00 | SQUASH YELLOW YEL MEX 1 16.00 16.00
STAR RUBY Cc USA 1 30.00 30.00] GARLIC JAR JBOX USA 1 28.00 £28.00
POMEGRANATE Ss GC USA 1 48.00 48.00 | SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
SEEDLESS RED RED USA 1 32.00 32.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
WATERMELON SEED USA 1 50.00 50.00] YAM #1 YAM USA 1 20.00 20.00
CANTALOUP USA 1 10.00 10.00 | EGGPLANT c USA 1 18.00 18.00
HONEY DEW Cc USA 1 26.00 26.00] POTATO IDAHO 90 USA 2 21.00 42.00
JUICE ORANGE 100 USA 2 21.00 42.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | ONION SPANISH SPI USA 2 16.00 32.00
LEMON SK SK/L USA 1 30.00 30.00] ONION RED RD-J USA 2 13.00 26.00
STRAWBERRY CAL USA 9 39.00 351.00] PINE GOLDEN GOL USA 4 13.00 52.00
RASPBERRY A USA 7 19.00 133.00] BANANA BNA ECU 3 16.50 49.50
BLUEBERRY A USA 7 14.00 98.00 | PLANTAIN YELLOW e ECU 1 27.00 27.00
BLACKBERRY A USA 3 23.00 69.00 | MESCLUN SALAD MESC USA 20 7.00 140.00
AVOCADO HASS# RIPE MEX 8 29.00 232.00] EGG EX/LOOSE EXLOO USA 6 39.50 237.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
MANGO RIPE M/RIP MEX 15 9.00 135.00] HERBS THYME THYM CHL 1 7.50 7.50
TOMATO #1 5X6 USA 2 15.00 30.00 | YUKON A BOX ¥Y ABO USA 1 32.00 32.00
TOMATO PLUM 4 MEX 1 14.00 14.00 | SCALLION KING USA 3 25.00 75.00
TOMATO CHERRY ¢ USA 2 18.00 36.00
TOMATO GRAPE R USA 3 10.00 30.00
TOMATO GRAPE YE USA 1 34.00 34.00
ROMAINE CA-A USA 4 15.00 60.00
CABBAGE GR GR USA 1 26.00 26.00
CABBAGE RED RED USA 1 35.00 35.00
CAULIFLOWER Cc USA 2 15.00 30.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 3 11..00 33.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 24.00 72.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 10 6.50 65.00 Credit : 15.60
ANISE c USA 1 22.00 22.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 27.00 81.00 Total Boxes: 193.0
STRINGBEAN BEAN USA 1 27.00 27.00 Delivery $ : 250.90
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 38.00 38.00 Shipment : 3,840.80
BASIL A USA 1 20.00 20.00 | Sars ree sso sear enh sere ean eae eee ea SSeS sees
BABY ARRUGULA B/AR USA 10 11.00 110.00
PEPPER GREEN GR USA 2 28.00 56.00 Cash Receipt:
PEPPER RED RED USA 3 13.00 39),.00 | ==SSSS aS SSS Sa aa eine
YELLOW PEPPER YELL USA 2 12.00 24.00
CUCUMBER CUM MEX 1 15.00 15.00 Signature :
SQUASH GREEN GR USA 1 14.00 14.00
Printed on Oct 12, 2020 xekeee Balance ; 151,027.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case _1:20-cv-08786-GHW Document 41-1 Phe 02719781-28P&ge 14 dfa23 347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325552

#100 Broad st

NY, NY 10004 Date 02/05/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 45.00 90.00 | MUSHROOM WASH 10LB USA 4 17.00 68.00
GALA APPLE 80 USA 1 42.00 42.00] MUSH SPECIAL 10SP USA 4 17.50 70.00
POMEGRANATES Cc USA 1 48.00 48.00] PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SEEDLESS RED RED USA 1 32.00 32.00] YAM #1 YAM USA 1 20.00 20.00
WATERMELON SEED USA 1 50.00 50.00} POTATO IDAHO 90 USA 2 21.00 42.00
JUICE ORANGE 100 USA 2 21.00 42.00 | POTATO RED A BOX BOX A USA 1 20.00 20.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | ONION SPANISH SPI USA 2 16.00 32.00
LEMON SK SK/L USA 1 30.00 30.00 | ONION RED RD-J USA 3 13:..00 39.00
STRAWBERRY CAL USA 6 42.00 252.00] TOFU Ss USA 1 13.00 13.00
RASPBERRY A USA 4 19.00 76.00 | PINE GOLDEN GoL USA 3 13.00 39.00
BLUEBERRY A USA 4 12.00 48.00] BANANA BNA ECU 2 16.50 33.00
BLACKBERRY A USA 2 23.00 46.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
AVOCADO HASS# RIPE MEX 8 28.00 224.00] EGG EX/LOOSE EXLOO USA 7 39.50 276.50
PAPAYA BIG BOX RED MEX 1 32.00 32.00 | SCALLION KING USA 3 26.00 78.00
MANGO RIPE M/RIP MEX 10 9.00 90.00 | SQUASH BUTTERNUT BUIN USA 1 22.00 22.00
TOMATO #1 5X6 USA 3 15.00 45.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY 3 USA 1 18.00 18.00
TOMATO GRAPE R USA 3 10.00 30.00
YEIIOW. TOMATO Y¥TO USA 1 23.00 23.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 3 16.00 48.00
CAULIFLOWER Cc USA 1 16.00 16.00
BROCCOLI CROWN CROW USA 3 11.00 33.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 24.00 72.00
CELERY Cc USA 1 42.00 42.00
SPINACH BUSH USA 1 18.00 18.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 19.00 19.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 27.00 81.00
STRINGBEAN BEAN USA 1 25.00 25.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 35.00 70.00 Credit -13.00
RADICCIO.. RD/CO USA ZI 11.00 11.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 10 11.00 110.00] Total Boxes: 173.0
CILANTRO Cc USA 1 20.00 20.00 Delivery § 224.90
DILL 6PCS USA L 5.00 5.00
PEPPER GREEN GR USA 2 26.00 52.00 Shipment : 3,454.40
PEPPER RED RED USA 3 13.00 a9, 00" ===> SSeS SSS ee eS See eee
YELLOW PEPPER YELL USA 2 212.00 22.00
JALAPINO JALPN HOL 1 30.00 30.00 Cash Receipt:
CUCUMBER CUM MEX 3 14.00 A2..00 | SSR ahe nse es See eee eS eee ee ea
SQUASH GREEN GR USA 1 14.00 14.00
SQUASH YELLOW YEL MEX 1 14.00 14.00 Signature :
GARLIC JAR JBOX USA 1 28.00 28.00
Printed on Oct 12, 2020 keekee Balance : 154,868.40

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 41-1 Fbaptt oD S93 78 Bage 15 tik 3.2347)438-105

 

 

 

 

 

 

 

INVOICE
Ship To: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325618
#100 Broad st
NY, NY 10004 Date 02/06/2019
Item Type Origin QTY Price _ Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 42.00 84.00] EGGPLANT ITALIAN ITAL USA 1 26.00 26.00
GALA APPLE 80 USA 1 42.00 42.00 | POTATO IDAHO 90 USA 2 2.00 42.00
STAR RUBY ¢ USA 1 30.00 30.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
POMEGRANATES c USA 1 48.00 48.00 | ONION SPANISH SPI USA 2 16.00 32.00
SEEDLESS GREEN GR USA 1 35.00 35.00] ONION RED RD-J USA 2 13.00 26.00
KIWI LOOSE LLOO USA 1 26.00 26.00 | PINE GOLDEN GOL USA 3 12.00 36.00
WATERMELON SEED USA 1 50.00 50.00 | BANANA BNA ECU 2 16.50 33.00
CANTALOUP G USA 1 10.00 10.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
HONEY DEW c USA 1 24.00 24.00 | EGG EX/LOOSE EXLOO USA 5 39.50 197.50
JUICE ORANGE 100 USA 1 21.00 21.00 | SCALLION KING USA 3 30.00 90.00
SUNKIST ORANGE 56 USA 2 32.00 64.00
STRAWBERRY CAL USA 7 36.00 252.00
RASPBERRY A USA 3 20.00 60.00
BLUEBERRY A USA 6 12.00 72.00
AVOCADO HASS# RIPE MEX 8 28.00 224.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO RIPE M/RIP MEX 10 8.50 85.00
TOMATO #1 5X6 USA 2 15.00 30.00
TOMATO PLUM Cc MEX 1 14.00 14.00
TOMATO CHERRY c USA 1 18.00 18.00
TOMATO GRAPE R USA 2 9.00 18.00
TOMATO GRAPE YE USA 1 30.00 30.00
ROMAINE CA-A USA 4 16.00 64.00
CABBAGE GR GR USA 1 27.00 27.00
CAULIFLOWER Cc USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 4 12.00 48.00
RABE ANDY USA 1 45.00 45.00
ASPARAGUS LG USA 3 22.00 66.00
CELERY Cc USA 1 42.00 42.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 3 27.00 81.00
STRINGBEAN BEAN USA 1 25.00 25.00
BRUSSEL SP LOOSE USA 2 30.00 60.00
MINT A USA 1 14.00 14.00
BABY ARRUGULA B/AR USA 10 11.00 110.00
PARSLEY PLAIN FULL USA 1 24.00 24.00
CILANTRO c USA 2 20.00 40.00
BEETS 25LB LBAG CAN 1 10.00 10.00 Total Boxes: 160.0
PEPPER GREEN GR USA 2 24.00 48.00 Delivery $ : 208.00
PEPPER RED RED USA 2 13.00 26.00
YELLOW PEPPER YELL USA 2 D200 22.00 Shipment : 3,202.50
JALAPINO JALPN HOL 1 27.00 QT OO | mm SS
CUCUMBER CUM MEX 2 14.00 28.00
SQUASH GREEN GR USA 1 23,00 13.00 Cash Receipt:
SQUASH YELLOW YEL MEX 1 14.00 VM OO | mm
MUSHROOM WASH 10LB USA 3 17.00 51.00
MUSH SPECIAL 10SP USA 4 17.50 70.00 Signature
PORTABELLA MUS M POo#2 USA 4 9.50 38.00
Printed on Oct 12, 2020 xk**** Balance : 158,322.80

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 41-1 hee: 02/99 67-2898 age 16 BK23347)438-1053

 

 

 

 

 

 

 

 

INVOICE

Ship To: # I1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325702

#100 Broad st

NY, NY 10004 Date 02/07/2019
Item Type Origin QTY Price | Amount | Item Type Origin QTY Price _ Amount
RED EX FANCY 80 USA 1 34.00 34.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
GRANNY SMITH 80 USA 2 42.00 84.00 | EGGPLANT Cc USA 1. $2200 17.00
STAR RUBY Cc USA 1 30.00 30.00} POTATO IDAHO 90 USA 3 21.00 63.00
POMEGRANATES c USA 1 48.00 48.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
SEEDLESS GREEN GR USA 1 36.00 36.00] ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 50.00 50.00 | ONION RED RD-J USA 2 13.00 26.00
HONEY DEW Cc USA 1. 23.00 23.00 | PINE GOLDEN GOL USA 3 11.00 33.00
JUICE ORANGE 100 USA 1 21.00 21.00 | BANANA BNA ECU 3 16.50 49.50
SUNKIST ORANGE 56 USA 2 32.00 64.00 | CIDER 1/2G USA 1 27.00 27.00
LEMON SK SK/L USA 1 28.00 28.00 | MESCLUN SALAD MESC USA 18 7.00 126.00
STRAWBERRY CAL USA 6 36.00 216.00] EGG EX/LOOSE EXLOO USA 6 39.50 237.00
RASPBERRY A USA 5 20.00 100.00] EGG BROWN/CT BR/CT USA 1 52.00 52.00
BLUEBERRY A USA 6 16.00 96.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
AVOCADO HASS# RIPE MEX 8 28.00 224.00] YUKON A BOX Y ABO USA 1 32.00 32.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00) SCALLION KING USA 3 33.00 99.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
TOMATO #1 5X6 USA 2 15.00 30.00
TOMATO PLUM Cc MEX 2 14.00 28.00
TOMATO CHERRY Cc USA 1 18.00 18.00
TOMATO GRAPE R USA 3 9.00 27.00
ROMAINE CA-A USA 4 16.00 64.00
CAULIFLOWER Cc USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 4 13.00 52.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 22.00 66.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN KALE KALE USA 3 27.00 81.00
STRINGBEAN BEAN USA 1 25.00 25.00
FRENCH BEAN FREN USA 1 16.00 16.00
ALFALFA CUP USA iL. “E200 12.00
BRUSSEL SP LOOSE USA 2 35.00 70.00
SHALLOT JAR/5LB su#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 11.00 11.00 Credit : 98.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 6 11.00 66.00
BEETS 25LB LBAG CAN 2 11.00 22.00 Total Boxes: 173.0
PEPPER GREEN GR USA 1 24.00 24.00 Delivery $ : 224.90
PEPPER RED RED USA 3 13.00 39.00
YELLOW PEPPER YELL USA 2 10.00 20.00 Shipment : 3,306.90
JALAPINO JALPN HOL 1 26.00 26.00) | eH See SSS rT Tr eT Tee
CUCUMBER CUM MEX 2 14.00 28.00
SQUASH GREEN GR USA 1 13.00 13.00 Cash Receipt:
GARLIC JAR JBOX USA 1 28.00 9900 | Sees eee ren crss se eee
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Signature
MUSH SPECIAL 10SP USA 4 17.50 70.00
Printed on Oct 12, 2020 *#*k*%** Balance : 161,525.30

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&§& Case _1:20-cv-08786-GHW_ Document 41-1 Phrse :02/88/7228(Bage 17 bf23 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325752
#100 Broad st
NY, NY 10004 Date 02/08/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 33.00 33.00 | BANANA BNA ECU 3 16.50 49.50
STAR RUBY Cc USA 1 30.00 30.00 | PLANTAIN YELLOW Cc ECU 1 27.00 27.00
POMEGRANATES c USA 1 48.00 48.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
SEEDLESS RED RED USA 1 32.00 32.00 | EGG EX/LOOSE EXLOO USA 6 39.50 237.00
KIWI LOOSE LLOO USA 1 26.00 26.00] MONEY PICK UP $$$ O 860.00 0.00
WATERMELON SEED USA 1 50.00 50.00 | SCALLION KING USA 3 36.00 108.00
JUICE ORANGE 100 USA 1. 21.00 21.00
SUNKIST ORANGE 56 USA 2 32.00 64.00
STRAWBERRY CAL USA 7 35.00 245.00
RASPBERRY A USA 6 24.00 144.00
BLUEBERRY A USA 5 18.00 90.00
BLACKBERRY A USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 5 28.00 140.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO RIPE M/RIP MEX 15 9.00 135.00
LIME 48 MEX iL 8.00 8.00
TOMATO PLUM c MEX 1 15.00 15.00
TOMATO GRAPE R USA 2 9.00 18.00
TOMATO GRAPE YE USA 1 28.00 28.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 2 14.00 28.00
CAULIFLOWER Cc USA 1 19.00 19.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 20.00 40.00
CELERY Cc USA 1 45.00 45.00
SPINACH BUSH USA 1 22.00 21.00
SPINACH BABY BA/SP USA 4 6.50 26.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 1 27.00 27.00
ENDIVES A USA 1 16.00 16.00
SHALLOT JAR/5LB sJ#5 USA 1 10.50 10.50
RADICCIO.. RD/CO USA 1 11.00 12.00
CILANTRO Cc USA 1 19.00 19.00
PEPPER GREEN GR USA 1 22.00 22.00
PEPPER RED RED USA 1 14.00 14.00
YELLOW PEPPER YELL USA 2 10.00 20.00] Total Boxes: 123.0
CUCUMBER CUM MEX 1 14.00 14.00| Delivery $ : 159.90
SQUASH YELLOW YEL MEX 1 13.00 13.00
GARLIC JAR JBOX USA 1 28.00 28.00 Shipment : 2,591.90
MUSH SPECIAL 10SP USA 1 17.50 = 17.50 | qrrr rn nnn rrr nnn rrr nnn nnn eee
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
POTATO IDAHO 90 USA 2 21.00 42.00| Cash Receipt:
POTATO RED A BOX BOX A USA 1 20.00 20.00 |, =@Se SSeS SSeS ee
CARROT LOOSE LOOSE USA 2 26.00 52.00
ONION SPANISH SPI USA 1 16.00 16.00 Signature
PINE GOLDEN GOL USA 4 10.00 40.00
Printed on Oct 12, 2020 eexee* Balance : 164,832.20

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW Document 41-1 Filed 02/19/21 Page 1és¢ 23 02/15/2019
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st

NY, NY 10004
212) 943-0100

 

02/10/2019 02/15/2019

 

 

 

 

 

Shipped Amont Payment

02/10 Sunday 0.00 0.00
02/11 Monday 3524.80 19419.30
02/12 Tuesday 3087.40 0.00
02/13 Wednesday 3249.50 0.00
02/14 Thursday 2975.50 0.00
02/15 Friday 2451.00 0.00
Shipped Total 15288.20 Paid Total 19419.30

Delivery Charge 0.00 Credit Memo

Credit 0.00
wenn Date +/- Qty Item Price Amount

Sub-Total (CH) “TS;P88s280  =ereecccecessssss Soe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Prev.Balance(+) 167,424.10 02/11 + 2 rasp cr-50.6 0.00 0.00
02/11 + 1 yukonA ad+33. 0.00 0.00
Payment 19,419.30 02/11 + 1 redoni ad+14. 0.00 0.00
ao nnn 02/12 + 2 rasp ad+50.6 0.00 0.00
Current Balance 163,293.00 02/15 + 1 radicc adt+l2. 0.00 0.00
Credit Total : 0.00
AR Aging Report Current Balance 163,293.00
Ist Week 15,288.20 Received Amount (- )
2nd Week 0.00 This Week Balance
3rd Week & Over 148,004.80 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S Case 1:20-cv-08786-GHW Document 41-1 Pita DEE ageagopag

iY UT ov

 

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325865

#100 Broad st

NY, NY 10004 Date 02/11/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price _ Amount
GRANNY SMITH 80 USA 1 42.00 42.00] SQUASH GREEN GR USA 1 12.00 12.00
GALA APPLE 80 USA 1 43.00 43.00 | SQUASH YELLOW YEL MEX 1 13.00 13.00
POMEGRANATES c USA 1 48.00 48.00 | GARLIC JAR JBOX USA 1 26.00 26.00
SEEDLESS GREEN GR USA 1 36.00 36.00| SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
CANTALOUP c USA 1 9.00 9.00 | MUSH SPECIAL 10SP USA 4 17.50 £70.00
HONEY DEW Cc USA 1 23.00 23.00| PORTABELLA MUS M PO#2 USA 3 9.50 28.50
JUICE ORANGE 100 USA 2 21.00 42.00] EGGPLANT c USA 1 16.00 16.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | EGGPLANT ITALIAN ITAL USA 1 23.00 23.00
LEMON SK SK/L USA 1 28.00 28.00| POTATO IDAHO 90 USA 2 21.00 42.00
STRAWBERRY CAL USA 8 32.00 256.00| POTATO RED A BOX BOX A USA 1 20.00 20.00
RASPBERRY A USA 6 24.00 144.00] CARROT LOOSE LOOSE USA 1 26.00 26.00
BLUEBERRY A USA 6 20.00 120.00] ONION SPANISH SPI USA 2 16.00 32.00
BLACKBERRY A USA 3 30.00 90.00 |] ONION RED RD-J USA 2 12.00 24.00
AVOCADO HASS# RIPE MEX 8 29.00 232.00| PINE GOLDEN GOL USA 3 11.00 £33.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00] BANANA BNA ECU 2 17.50 £35.00
MANGO RIPE M/RIP MEX 10 9.00 90.00 | PLANTAIN YELLOW Cc ECU 1 27.00 27.00
LIME 48 MEX 1 8.00 8.00 | MESCLUN SALAD MESC USA 16 7.00 112.00
TOMATO #1 5x6 USA 2 15.00 30.00 | EGG EX/LOOSE EXLOO USA 7 34.00 238.00
TOMATO PLUM c MEX 1 14.00 14.00 | HERBS THYME THYM CHL 1 7.50 7.50
TOMATO CHERRY é USA 1 18.00 18.00 | MONEY PICK UP $$$ 0 0.00 0.00
TOMATO GRAPE R USA 2 9,00 18.00 | SCALLION KING USA 3 30.00 90.00
TOMATO GRAPE YE USA 1 28.00 28.00
ROMAINE CA-A USA 4 19.00 76.00
CABBAGE GR GR USA 1 25.00 25.00
CAULIFLOWER Cc USA 1 19.00 19.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 14.00 56.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 17.00 51.00
CELERY é USA 1 50.00 £50.00
SPINACH BUSH USA 1 22.00 22.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 20.00 20.00
GREEN COLLARD COALD USA 1 20.00 20.00
GREEN KALE KALE USA 4 24.00 96.00] Credit ‘ 3.00
STRINGBEAN BEAN USA 1 22.00 22.00
SNOWPEA A USA 1 15.00 15.00
SUGAR SNAPEA SNAP PER 1 16.00 16.00| Total Boxes: 176.0
ALFALFA cUP USA 1 12.00 12.00| Delivery $ : 228.80
BRUSSEL SP MM USA 2 36.00 £72.00
BABY ARRUGULA B/AR USA 8 11.00 88.00] Shipment : 3,524.80
PARSLEY PLAIN FULL USA 1. 25.00 25.00 | -- er
CILANTRO c USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Cash Receipt:
PEPPER GREEN GR USA 220.00 = 40.00 | mmr EES
PEPPER RED RED USA 3 15.00 45.00
YELLOW PEPPER YELL USA 2 11.00 22.00 Signature
CUCUMBER CUM MEX 2 415.60 30.00
Printed on Oct 12, 2020 kkkeeee Balance : 167,424.10

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
 

 

 

 

 

 

 

 

K&S§& Case 1:20-cv-08786-GHV/ DocumentAt.4 Phone « 118)767-2808 o Fax : 347)438-1053
— ee Orr react Payee cU Ol co
INVOICE

Ship To: # iTEB 100 BROAD STREET LLC (ESSEN) Invoice No. 325887

#100 Broad st

NY, NY 10004 Date 02/12/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 32.00 32.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
GRANNY SMITH 80 USA 1 42.00 42.00] MUSH SPECIAL 10SP USA 3 17.50 52.50
STAR RUBY c USA 1 30.00 30.00 | PORTABELLA MUS M Ppo#2 USA 2 9.50 19.00
POMEGRANATES Cc USA 1 48.00 48.00] POTATO IDAHO 90 USA 2 21.00 42.00
SEEDLESS RED RED USA 1 32.00 32.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
KIWI LOOSE LLOO USA 1 27.00 27.00] ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 46.00 46.00 | ONION RED RD-J USA 2 12.00 24.00
HONEY DEW c USA 1. 23.00 23.00 | TOFU s USA 1. 13.00 13.00
JUICE ORANGE 100 USA 2 21.00 42.00 | PINE GOLDEN GOL USA 4 10.00 40.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | BANANA BNA ECU 2 17,50 35.00
LEMON SK SK/L USA 1 28.00 28.00 | MESCLUN SALAD MESC USA 14 7.00 98.00
STRAWBERRY CAL USA 8 27.00 216.00] EGG EX/LOOSE EXLOO USA 6 34.00 204.00
RASPBERRY A USA 2 30.00 60.00 | SCALLION KING USA 3 26.00 78.00
BLUEBERRY A USA 2 15.00 30.00
BLACKBERRY A USA O 0.00 0.00
AVOCADO HASS# RIPE MEX 8 28.00 224.00
TOMATO #1 5X6 USA 3 15.00 45.00
TOMATO PLUM cS MEX 2 14.00 28.00
TOMATO CHERRY c USA 1 18.00 18.00
TOMATO GRAPE R USA 2 9.00 18.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 4 18.00 72.00
CABBAGE GR GR USA 1 24.00 24.00
CAULIFLOWER C. USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 3 15.00 45.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 16.00 48.00
CELERY Cc USA 1 48.00 48.00
SPINACH BUSH USA 1 20.00 20.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 18.00 18.00
GREEN KALE KALE USA A 26.00 104.00
STRINGBEAN BFAN USA 1 25.00 25.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 36.00 72.00 Credit : -50.60
RADICCIO.. RD/CO USA 1 11.00 11.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 10 11.00 110.00 Total Boxes: 151.0
PARSLEY PLAIN FULL USA 1 24.00 24.00 Delivery $ : 196.30
CILANTRO Cc USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Shipment : 3,087.40
PEPPER GREEN GR USA 2 18.00 BE 00 | nnn
PEPPER RED RED USA 3 15.00 45.00
YELLOW PEPPER YELL USA 2 13.00 26.00 Cash Receipt:
CUCUMBER CUM MEX 2 20.00 BO OO | mm
SQUASH GREEN GR USA 1 12.00 12.00
GARLIC JAR JBOX USA 1 26.00 26.00 Signature :
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
Printed on Oct 12, 2020 eekeee* Balance : 151,529.60

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 41-1 PPoid BRU Pbage 21a D SUAS IDS

INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TESB 100 BROAD STREET LLC (ESSEN) Invoice No. 325995
#100 Broad st
NY, Ny 10004 Date 02/13/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00 | GINGER 10LB 10LB CHN 1 212.00 12.00
GALA APPLE 80 USA 1 42.00 42.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
STAR RUBY Cc USA 1 30.00 30.00 | MUSH SPECIAL 10SP USA 2 17.50 35.00
POMEGRANATES c USA 1 48.00 48.00 | PORTABELLA MUS M PO#2 USA 4 9.50 38.00
SEEDLESS GREEN GR USA 1 36.00 36.00] POTATO IDAHO 90 USA 2 21.00 42.00
SEEDLESS RED RED USA 1 32.00 32.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
WATERMELON SEED USA 1 46.00 46.00] ONION SPANISH SPI USA 2 16.00 32.00
CANTALOUP € USA 1 10.00 10.00 | ONION RED RD-J USA 1 12.00 12.00
HONEY DEW c USA 1 23.00 23.00 | PINE GOLDEN GOL USA 4 11.00 44.00
JUICE ORANGE 100 USA 2 20.00 40.00 | BANANA BNA ECU 2 17.50 35.00
SUNKIST ORANGE 56 USA 3 32.00 96.00 | MESCLUN SALAD MESC USA 12 7.00 84.00
LEMON SK SK/L USA 1 28.00 28.00 | EGG EX/LOOSE EXLOO USA 6 34.00 204.00
STRAWBERRY CAL USA 6 24.00 144.00] YUKON A BOX Y ABO USA 1 36.00 36.00
RASPBERRY A USA 4 30.00 120.00] SCALLION KING USA 3 26.00 78.00
BLUEBERRY A USA 7 18.00 126.00] SQUASH BUTTERNUT BUTN USA 1 21.00 21.00
BLACKBERRY A USA 4 35.00 140.00
AVOCADO HASS# RIPE MEX 7 27.00 189.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 3 14.00 42.00
TOMATO PLUM Cc MEX 2 13.00 26.00
TOMATO GRAPE R USA a. 9.00 9.00
LETTUCE . ICEBERG A USA 1 15.00 15.00
ROMAINE CA-A USA 3 18.00 54.00
CABBAGE RED RED USA 1 40.00 40.00
CAULIFLOWER c USA 1 22.00 22.00
BROCCOLI CROWN CROW USA 4 16.00 64.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 16.00 48.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN COLLARD COALD USA 1 20.00 20.00
GREEN KALE KALE USA 4 25.00 100.00
STRINGBEAN BEAN USA 1 24.00 24.00
SNOWPEA A USA 1 15.00 15.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
SHALLOT JAR/5LB SJ#5 USA 4 £6.50 10.50
BASIL A USA 1 20.00 20.00 Total Boxes: 160.0
BABY ARRUGULA B/AR USA 6 11.00 66.00 Delivery $ 208.00
CILANTRO Cc USA 1 18.00 18.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Shipment 3,249.50
PEPPER GREEN GR USA 1 16.00 16.00 | -=-==$4- 3S ee Se tr rr
PEPPER RED RED USA 2 15.00 30.00
YELLOW PEPPER YELL USA 2 13.00 26.00 Cash Receipt:
JALAPINO JALPN HOL 1 25.00 DE 00 | mmm EE
CUCUMBER CUM MEX 2 20.00 40.00
SQUASH YELLOW YEL MEX 1, 11.00 11.00 Signature
GARLIC JAR JBOX USA 1 24.00 24.00
Printed on Oct 12, 2020 *#eeee* Balance : 154,617.00

The perishable agricultural commodities listed on this invoice are sold subject to the statutory tru
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commo
products derived from these commodities and any receivables or procee

dities retains a trust claim

st authorized by section 5(c) of the perishable agricultural
over these commodities, all inventories of food or other

d from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 41-1 Ae OPAPP age 22 TK 5 2347)498 1055

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 326021

#100 Broad st

NY, Ny 10004 Date 02/14/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00] POTATO IDAHO 90 USA 2 21.00 42.00
STAR RUBY c USA 1 32.00 32.00 | POTATO RED A BOX BOX A USA 1 20.00 20.00
POMEGRANATES SS USA 1 48.00 48.00] CARROT LOOSE LOOSE USA 1 26.00 26.00
WATERMELON SEED USA 1 46.00 46.00 | ONION SPANISH SPI USA 2 16.00 32.00
SUNKIST ORANGE 56 USA 2 32.00 64.00 | ONION RED RD-J USA 2 12.00 24.00
LEMON SK SK/L USA 1 28.00 28.00 | PINE GOLDEN GOL USA 3 11.00 33.00
STRAWBERRY CAL USA 8 20.00 160.00 | BANANA BNA ECU 3 17.50 52.50
RASPBERRY A USA 5 30.00 150.00/ YUCA DOM EUC 1 22.00 22.00
BLUEBERRY A USA 6 15.00 90.00 | CALABAZA Cc USA 1 22.00 22.00
AVOCADO HASS# RIPE MEX 5 27.00 135.00] MESCLUN SALAD MESC USA 14 7.00 98.00
PAPAYA BIG BOX RED MEX 1 32.00 32.00] EGG EX/LOOSE EXLOO USA 6 34.00 204.00
MANGO RIPE M/RIP MEX 15 9.00 135.00] SCALLION KING USA 2 26.00 52.00
TOMATO #1 5X6 USA 2 14.00 28.00] SQUASH KABOCHA KABO MEX 1 21.00 21.00
TOMATO PLUM c MEX 1. 23..00 13.00
TOMATO CHERRY c USA 1 18.00 18.00
TOMATO GRAPE R USA 3 8.00 24.00
TOMATO GRAPE YE USA 1 28.00 28.00
ROMAINE CA-A USA 3 18.00 54.00
CABBAGE GR GR USA 1 24.00 24.00
CAULIFLOWER Cc USA 1 23.00 23.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 3 15.00 45.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 3 16.00 48.00
CELERY Cc USA 1 46.00 46.00
SPINACH BUSH USA 1 21.00 21.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 3 26.00 78.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
RADICCIO. . RD/CO USA 1 11.00 11.00
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 8 11.00 88.00
CILANTRO c USA 1 17.00 Oo
BEETS 25LB LBAG CAN 2 11.00 22.00
PEPPER GREEN GR USA 1 15.00 15.00
PEPPER RED RED USA 2 14.00 28.00
YELLOW PEPPER YELL USA 1 13.00 13.00 Total Boxes: 160.0
JALAPINO JALPN HOL 1 25.00 25.00 Delivery § 208.00
CUCUMBER CUM MEX 2 22.00 44.00
SQUASH GREEN GR USA 1 10.00 10.00 Shipment 2,975.50
SQUASH YELLOW VEL MEX 111.00 11.00 | mre
GARLIC JAR JBOX USA 1 24.00 24.00
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00 Cash Receipt:
MUSHROOM WASH 10LB USA 2 17.00 BAO | mmm SS
MUSH SPECIAL 10SP USA 3 17.50 52.50
PORTABELLA MUS M Po#2 USA 3 9.50 28.50 Signature
YAM #1 YAM USA 1 19.00 19.00
Printed on Oct 12, 2020 kekkke Balance : 157,866.50

The perishable agricultural commodi
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commo
products derived from these commodities and any receivables or procee

ties listed on this invoice are sold subject to the statutory trust authorized by
dities retains a trust claim over these comm p }
d from the sale of these commodities until full payment is recieved.

section 5(c) of the perishable agricultural
odities, all inventories of food or other
K&S Case 1:20-cv-08786-GHW_Document 41-1 Ahnert OB 39229B age 23 Wik 33347438-1055

 

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 326084
#100 Broad st
Ny, NY 10004 Date 02/15/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00 | BANANA BNA ECU 2 17.50 35.00
POMEGRANATES c USA 1 50.00 50.00] BANANA Y.G Y+G ECU 1 17.50 7.50
SEEDLESS GREEN GR USA 1 43.00 43.00 | MESCLUN SALAD MESC USA 10 7.00 70.00
SEEDLESS RED RED USA 1 33,00 33.00 | EGG EX/LOOSE EXLOO USA 6 34.00 204.00
KIWI LOOSE LLOO USA 1 27.00 27.00 | SCALLION KING USA 2 26.00 52.00
HONEY DEW Cc USA 1 23.00 23.00
JUICE ORANGE 100 USA 1 20.00 20.00
SUNKIST ORANGE 56 USA 1 32.00 32.00
LEMON SK SK/L USA 1 28.00 28.00
STRAWBERRY CAL USA 8 18.00 144.00
RASPBERRY A USA 5 30.00 150.00
BLUEBERRY A USA 7 14.00 98.00
BLACKBERRY A USA 4 30.00 120.00
AVOCADO HASS# RIPE MEX 4 27.00 108.00
PAPAYA BIG BOX RED MEX 1 33.00 33.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
LIME 48 MEX 1 8.00 8.00
TOMATO #1 5X6 USA 2 14.00 28.00
TOMATO PLUM c MEX 2 13.00 26.00
TOMATO CHERRY Cc USA 1 18.00 18.00
TOMATO GRAPE R USA 1 8.00 8.00
ROMAINE CA-A USA 3 18.00 54.00
BROCCOLI CROWN CROW USA 1 16.00 16.00
RABE ANDY USA 1 35.00 35.00
ASPARAGUS LG USA 1 16.00 16.00
CELERY c USA 1 46.00 46.00
SPINACH BUSH USA 1 30.00 30.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN COLLARD COALD USA 1 20.00 20.00
STRINGBEAN BEAN USA 1 18.00 18.00
BRUSSEL SP LOOSE USA 1 38.00 38.00
MINT A USA 1 14.00 14.00
CILANTRO c USA 2 18.00 36.00
PEPPER GREEN GR USA 1 13.00 13.00
PEPPER RED RED USA 3 14.00 42.00 Credit : -12.30
YELLOW PEPPER YELL USA 1 15.00 15.00
CUCUMBER CUM MEX 1 17.00 17.00
SQUASH GREEN GR USA 1 10.00 10.00 Total Boxes: 124.0
SQUASH YELLOW YEL MEX 1 10.00 10.00 Delivery $ : 161.20
MUSHROOM WASH 10LB USA 2 17.00 34.00
MUSH SPECIAL 10SP USA 4 17.50 70.00 Shipment > .2,451...00
PORTABELLA MUS M PO#2 USA 2 9.50 LD OO | mmm
EGGPLANT Cc USA 1 16.00 16.00
POTATO IDAHO 90 USA 3 21.00 63.00 Cash Receipt:
CARROT LOOSE LOOSE USA 1 26.00 DEO mm
ONION SPANISH SPI USA 1 16.00 16.00
ONION RED RD-J USA 1 12.00 12.00 Signature :
PINE GOLDEN GOL USA 3 11.00 33.00
Printed on Oct 12, 2020 #kk*e** Balance : 160,842.00

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
